          Case 1:20-vv-01019-UNJ Document 46 Filed 02/07/23 Page 1 of 7




    In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS
                                      No. 20-1019V
                                     UNPUBLISHED


    GEORGE LUHRMANN,                                    Chief Special Master Corcoran

                      Petitioner,
    v.                                                  Filed: December 29, 2022

    SECRETARY OF HEALTH AND                             Special Processing Unit (SPU); Joint
    HUMAN SERVICES,                                     Stipulation on Damages; Influenza
                                                        (Flu) Vaccine; Shoulder Injury
                      Respondent.                       Related to Vaccine Administration
                                                        (SIRVA).

Ronald Craig Homer, Conway, Homer, P.C., Boston, MA, for Petitioner.

Katherine Carr Esposito, U.S. Department of Justice, Washington, DC, for Respondent.

                            DECISION ON JOINT STIPULATION1

       On August 14, 2020, George Luhrmann filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner received the influenza (“flu”) vaccine, which vaccine is
contained in the Vaccine Injury Table (the “Table”), 42 C.F.R. § 100.3(a), on September
2, 2017. Petitioner alleges that he subsequently suffered a shoulder injury related to
vaccine administration (“SIRVA”). He further alleges that he experienced the residual
effects of this alleged injury for more than six months.

       Respondent denies that Petitioner sustained a SIRVA Table injury; denies that the
flu vaccine caused Petitioner’s alleged shoulder injury, or any other injury; and denies
that Petitioner’s current condition is a sequela of a vaccine-related injury.

1 Because this unpublished Decision contains a reasoned explanation for the action in this case,
I am required to post it on the United States Court of Federal Claims' website in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and
Promotion of Electronic Government Services). This means the Decision will be available to
anyone with access to the internet. In accordance with Vaccine Rule 18(b), Petitioner has 14
days to identify and move to redact medical or other information, the disclosure of which would
constitute an unwarranted invasion of privacy. If, upon review, I agree that the identified material
fits within this definition, I will redact such material from public access.
2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter,
for ease of citation, all section references to the Vaccine Act will be to the pertinent subparagraph
of 42 U.S.C. § 300aa (2012).
          Case 1:20-vv-01019-UNJ Document 46 Filed 02/07/23 Page 2 of 7




        Nevertheless, on December 29, 2022, the parties filed the attached joint
stipulation, stating that a decision should be entered awarding compensation. I find the
stipulation reasonable and adopt it as my decision awarding damages, on the terms set
forth therein.

       Pursuant to the terms stated in the attached Stipulation, I award the following
compensation: a lump sum of $22,723.37 in the form of a check payable to
Petitioner. This amount represents compensation for all items of damages that
would be available under Section 15(a). Stipulation at ¶ 8.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the Clerk of Court is directed to
enter judgment in accordance with this decision.3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                    2
Case 1:20-vv-01019-UNJ Document 46 Filed 02/07/23 Page 3 of 7
Case 1:20-vv-01019-UNJ Document 46 Filed 02/07/23 Page 4 of 7
Case 1:20-vv-01019-UNJ Document 46 Filed 02/07/23 Page 5 of 7
Case 1:20-vv-01019-UNJ Document 46 Filed 02/07/23 Page 6 of 7
Case 1:20-vv-01019-UNJ Document 46 Filed 02/07/23 Page 7 of 7
